           Case 3:10-cr-03044-WQH                         Document 1519 Filed 02/29/12
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                                                                                                                    PageID.9922    FILED'
                                                                                                                                      Page 1 of


            1458 (CASD) (Rev. 12/, I) Judgment in a Crimina! Case
                 Sheet I
                                                                                                                             I    FEB 29 2012
                                                                                                                            CLERIC, u.s.
                                                                                                                       BY
                                                UNITED STATES DISTRICT COUR~--.....:.f-~F+-=::::"::'::..:..!
                                                    SOUTHERN DISTRICT OF CALIFORNIA

                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                          v.                                        (For Offenses Committed On or After November 1, 1987)

                           JOSE COl\TRERAS (35)                                     Case l':umber: 1OCR3044- WQH

                                                                                    l':ICHOLAS DEPENTO, CJA
                                                                                    Defendant's Attorney
     REGISTRATION NO, 21498298



     THE DEFENDANT:
     [8] pleaded guilty to count(s) 1 OF THE SECOND SUPERSEDING Il\DICTMENT
     D      was found guilty on
            after a plea of not guilty.
            Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                Count
     Title & Section                           Nature of Offense                                                                            ~umber(s)

18 LSC 1962(d)                          Conspiracy to Conduct Enterprise Affairs Through A Pattern of Racketeering                          I
                                        Activity




        The defendant is sentenced as provided in pages 2 through _ _..:.4_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D   The defendant has been found not guilty on count(s)
 [8] Count(s) Underlying Indictment/SIS Indictment
                                                              ------------------------------
                                                                      is Dare [8] dismissed on the motion of the United States.
 [8] Assessment: $100.00


 [8] Fine waived                                     D    Forfeiture pursuant to order filed                                , included herein.
                                                                                             ---------
         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               FEBRUARY 27, 2012




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                I OCR3044- WQH
     Case 3:10-cr-03044-WQH                            Document 1519 Filed 02/29/12            PageID.9923            Page 2 of
                                                                    4
.'\0 ::>.15B (CASDI (Rev 12 III Judgment in a Criminal Case
             Sheet     Imprisonment

                                                                                            Judgment ~ Page
                                                                                                              __2_ _ of
 DEFENDANT: JOSE CONTRERAS (35)
 CASE NUMBER: lOCR3044-WQH
                                                               IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          30 months



     D    Sentence imposed pursuant to Title 8 USC Section 1326(b),
     D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:

            D at                                       Da.m.    D p.m.      on
                as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before
                         -------------------------------------------------------------------------
           D    as notified by the United States Marshal.
           D    as notified by the Probation or Pretrial Services Office.



                                                                  RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                         By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                   1OCR3044-WQ H
         Case 3:10-cr-03044-WQH                       Document 1519 Filed 02/29/12                             PageID.9924              Page 3 of
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AO 2458 (CASD) (Rev. 121111 Judgment in aCriminal Case
           Sheet J -            Release
                                                                                                                 Judgment-Page
DEFEKDANT: JOSE CONTRERAS (35)
CASE NUMBER: IOCR3044-WQH
                                                            SUPERVISED RELEASE
Upon release from imprisonment. the defendant shall be on supervised release for a term of:
3 years


         The defendant shall report to the probation office in the district to 'which the defendant is relcascd within 72 hour" of release from
the custody of the Bureau of Prisons.
The defendant shall not commit anothcr federaL state or local crime.
For              committed on or afler Septemher 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
         future sub stance abuse. (Check, if applicab Ie.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other                       weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
         The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
         by the probation officer, the Bureau of Prisons. or any state sex offender registration agency in which he or she resides, works, is a student. or
         was convicted of a qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fille
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
fonh :n this judgment.
            The defendant must comply with the standard conditions that have been adopted                this court. The defendant shall also comply with
ar:;.         conditions imposed.


                                         STA~DARD CONDITIO~S OF SUPERVISIO~

          the defendant shall not leave the judicial district without the permission of the court or probation officer;
          the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3i     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   -1)    the defendant shall support his or her dependents and meet other family responsibilities;
   5i     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
          acceptable reasons;
   6i     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use. distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold. used. distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permiSSion to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall nol enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed   the probation officer. the defendant shall not;f::, third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shail perm:t the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                        IOCR3044-WQH
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                                                                     4
        "02458 (CASD) (Rev<    I Jl:dgment in 8 Criminal Case
                  Sheel4    Special Conditions
                                                                                                         Judgment - Page _ _4_ of _---'4_ __
        DEFENDANT: JOSE CONTRERAS (35)
        CASE NUMBER: lOCR3044-WQH




                                             SPECIAL CONDITIONS OF SUPERVISION
~   Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the          may be subject to searches pursuant to
    this condition.

    If deported, excluded. or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure<
    Not transport, harbor, or assist undocumented aliens<
    Not associate with undocumented aliens or alien smugglers.
    Not reenter the United States illegally.
~ Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D ~ot possess any narcotic drug or controlled substance without a lawful medical prescription.
D "ot affiliate or contact with any FSO members.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    releaSe of inforn1ation between the probation offieer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.


D Take no medication containing a controlled substance without valid medical prescription. and provide proof of prescription to the probation
    of:lccr. If directed.
D Pro\ ide complete disclosure of personal and business financial records to the probation officer as requested<
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    ;:,robation officer.
D Seck and maintain full time employment and/or schooling or a combination of both.
~ Resolve all outstanding warrants within          60     days.
D Complete           hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be detennined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                    lOCR3044-WQH
